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                               UNITED STATES DISTRICT COURT
 6
                                       DISTRICT OF NEVADA
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     IN RE PLAYAGS, INC. SECURITIES                        Case No.: 2:20-cv-01209-JCM-NJK
 9   LITIGATION,
                                                                          Order
10
                                                                     [Docket No. 28]
11
12         Pending before the Court is Lead Plaintiff’s motion to extend the time to effectuate service
13 to 14 days after counsel for all Defendants have appeared. Docket No. 28. Pursuant to Rule 4(m)
14 of the Federal Rules of Civil Procedure, good cause exists for an extension. As a general matter,
15 however, the Court prefers setting deadlines with calendar dates rather than free-floating dates.
16 E.g., Local Rule 26-1(b)(1) (requiring a “calendar date” for discovery cutoff). Accordingly, the
17 motion is GRANTED in part in that the deadline to effectuate service is EXTENDED to
18 December 17, 2020.1
19         IT IS SO ORDERED.
20         Dated: November 9, 2020
21                                                              ______________________________
                                                                Nancy J. Koppe
22                                                              United States Magistrate Judge
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            To the extent additional time is required, a further request may be filed. The Court
28 expresses no opinion herein on such a request.

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